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 5                            UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF WASHINGTON
 6

 7   UNITED STATES OF AMERICA,                  No.   CR-11-0108-EFS-01

 8                             Plaintiff,
                                                ORDER GRANTING THE USAO’S MOTION
 9                  v.                          TO DISMISS COUNT 25 OF THE SECOND
                                                SUPERSEDING INDICTMENT
10   ISIDRO MADRIGAL-GALVAN,

11                             Defendant.

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13           Sentencing occurred in the above-captioned matter on March 19,

14   2013.        Defendant Isidro Madrigal-Galvan was present, represented by

15   David    Partovi.     Assistant   U.S.   Attorney   Timothy    Ohms   appeared   on

16   behalf of the U.S. Attorney’s Office (USAO).           Before the Court was the

17   USAO’s Motion to Dismiss Count 25 of the Second Superseding Indictment

18   as to Defendant Isidro Madrigal-Galvan, ECF No. 647.              Having reviewed

19   the pleadings filed in connection with the motion, the Court was fully

20   informed and granted the USAO’s motion; this Order memorializes the

21   Court’s oral ruling.

22           Accordingly, IT IS HEREBY ORDERED:

23           1.     Pursuant to Federal Rule of Criminal Procedure 48(a), the

24                  USAO’s Motion to Dismiss Count 25 of the Second Superseding

25                  Indictment, ECF No. 647, is GRANTED.

26   //


     ORDER GRANTING THE USAO’S MOTION TO DISMISS COUNT
     25 OF THE SECOND SUPERSEDING INDICTMENT - 1
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 1           2.       Count 25 of the Second Superseding Indictment, ECF No. 267,

 2                    is    DISMISSED         WITH      PREJUDICE       as     to   Defendant   Isidro

 3                    Madrigal-Galvan.             The Court makes no judgment as to the

 4                    merit or wisdom of this dismissal.

 5           IT IS SO ORDERED.              The Clerk’s Office is directed to enter this

 6   Order and provide copies to all counsel.

 7           DATED this         25th      day of March 2013.

 8
                                       s/ Edward F. Shea
 9                                         EDWARD F. SHEA
                                Senior United States District Judge
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     ORDER GRANTING THE USAO’S MOTION TO DISMISS COUNT
     25 OF THE SECOND SUPERSEDING INDICTMENT - 2
